Case 6:16-mj-01243-DAB Document4 Filed 05/11/16 Page 1of 3 PagelD 49

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO Division

UNITED STATES OF AMERICA
VS. CASE NO: 6:16-mj-1243

GARY HIRST

ORDER SETTING
CONDITIONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant must not violate any federal. state or local law while on release in this case.

(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C.
§ 14135a.

(3) The defendant must immediately advise the court, Pretrial Services Office. defense counsel and the U.S.

Attorney in writing of any change in address and telephone number.

(4) The defendant must appear at all proceedings as required and must surrender for service of any sentence
imposed as directed. ‘The defendant shall next appear in the United States Courthouse, 401 W. Central
Boulevard, Orlando, FL 32801, in the Courtroom directed upon notice.

ADDITIONAL CONDITIONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

Execute a bond in the amount of $1,000,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: $200,000 (previously posted
in SD/NY in another case to apply for this bond as well). ‘Three individuals to co-sign bond: Tracey Hirst; Nancy Hirst
& Robert Hirst.

° Report as directed by the Pretrial Services Office.
° Obtain no passport.
° Abide by the following restrictions on personal association. place of abode. or travel: Defendant is restricted

in residence and travel to the State of Florida, SD & ED/NY: District of Arizona: ND/GA: State of Tennessee.

AG 199A Order Setting Conditions of Release I

Case 6:16-mj-01243-DAB Document4 Filed 05/11/16 Page 2 of 3 PagelD 50

° Refrain from possessing a firearm, destructive device. or other dangerous weapon.
° Refrain from excessive use of alcohol.
° Refrain from any use or possession of a narcotic drug or other controlled substances in 21 U.S.C. § 802, unless

with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in writing by a
licensed medical practitioner.

e Report as scon as possible, to the Pretrial Services Office any contact with law enforcement personnel,
including, but not limited to, any arrest, questioning, or traffic stop.

® Notify Pretrial and attorney of travel schedule when leaving the state.

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result ina
term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. ‘This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation. It is a crime punishable by up to ten years of imprisonment. and a $250,000 fine or
both to tamper with a witness, victim or informant: to retaliate or attempt to retaliate against a witness. victim or
informant; or to intimidate or attempt to intimidate a witness, victim. juror. informant or officer of the court, The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release. you knowingly fail to appear as required by the conditions of release. or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed.
If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more. you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both:

(2) an offense punishable by imprisonment for a term of five years or more. but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both:

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both:

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year. or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

| acknowledge that | am the defendant in this case and that | am aware of the conditions of release. | promise
to obey all conditions of release. to appear as directed, and to surrender for service of any sentence imposed. [ am
aware of the penalties and sanctions set forth above.

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AO 199A Order Setting Conditions of Release

Case 6:16-mj-01243-DAB Document4 Filed 05/11/16 Page 3of 3 PagelD 51

Signature of Defendant

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City and State

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Telephone

DIRECTIONS TO THE UNITED STATES MARSHAL

vO The defendant is ORDERED released after processing.

{ The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release.
The defendant shall be produced before the appropriate judicial officer at the time and place specified. if still

in custody. .

DAVIN) A. BAKER
UNITED STATES MAGISTRATE JUDGE

Date: 1 Ith day of May. 2016

Copies furnished to:

United States Attorney
Federal Public Defender

AQ L994 Order Setting Conditions of Release 3

